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FOR THE wESTERN DISTRICT oF TENNESS&EHAYE? PH 3:c}

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LOUIS BROGDON, 'v whmFHE

Plaintiff,
vs.

NO. 02-2947BV

HARRY SIMS and JIM SMITH,

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Defendants.

 

ORDER AWARDING EXPENSES AND CONDITIONING SETTLEMENT CONFERENCE
ON PAYMENT OF EXPENSES

 

By order dated March 8, 2005, Judge J. Daniel Breen directed
that the defendants, Harry Sims and Jim Smith, should be awarded
the expenses which they have incurred by reason of their
unsuccessful trip to Memphis in February ll, 2005, for the purpose
of a settlement conference. Before the court is the letter of Jim
Smith, dated May 18, 2005, and the letter of Harry Sims dated March
20, 2005, in compliance with the court's March 8, 2005 order
granting expenses.

The letter of Jim Smith sets forth lost wages of 6.5 hours at
the rate of $30 per hour and mileage of 172 miles at $.405 per
mile, for a total of $264.66. The letter of Harry Sims sets forth
mileage of 240 miles at $.405 per mile and meal expense of $8.00

for a total of $105.20. The court finds the expenses and mileage

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claimed by each to be reasonable.

IT IS THEREFORE ORDERED that plaintiff, Louis Brogdon, pay Jim
Smith $264.66 and Harry Sims $105.20 within thirty days of the date
of this order for expenses incurred in attending the settlement
conference on February ll, 2005. The plaintiff is further directed
to certify to the court that the payments were timely made. If the
payments are timely made, the court will then schedule this matter
for a settlement conference. Failure to make timely payments will
result in the dismissal of this lawsuit.

This 27th day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 110 in
case 2:02-CV-02947 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

